TO:    All Court of Appeals Judges, Professor Bacigal, and John Tucker

FROM: Marty Ring

DATE: December 6, 2016


             The following cases in which the Court of Appeals issued published opinions have been
      appealed to the Supreme Court:

          1. Victoria Elizabeth Dufresne
             v. Commonwealth of Virginia
             Record No. 0281-15-2
             Opinion rendered by Judge Beales on
              October 18, 2016
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Tevein Dewayne Harvey
   v. Commonwealth of Virginia
   Record No. 2037-14-2
   Opinion rendered by Judge McCullough
    on October 13, 2015
   Refused (151685)

2. Donna Marie Porter
   v. Commonwealth of Virginia
   Record No. 1374-14-2
   Opinion rendered by Judge Alston
    on November 17, 2015
   Refused (151939)

3. Crystal Gail Ramsey
   v. Commonwealth of Virginia
   Record No. 0123-15-1
   Opinion rendered by Chief Judge Huff
    on December 29, 2015
   Refused (160121)

4. Michael Paul Reid
   v. Commonwealth of Virginia
   Record No. 0511-15-1
   Opinion rendered by Judge Atlee
    on February 2, 2016
   Refused (160234)

5. Nicholas David Pelloni
   v. Commonwealth of Virginia
   Record No. 0586-15-1
   Opinion rendered by Chief Judge Huff
    on February 2, 2016
   Refused (160344)

6. Keith Alexander Mayberry
   v. Commonwealth of Virginia
   Record No. 0225-15-3
   Opinion rendered by Judge O’Brien
    on March 8, 2016
   Refused (160554)
7. Lamont Anthony Woods
   v. Commonwealth of Virginia
   Record No. 0315-15-3
   Opinion rendered by Judge Beales
     on March 8, 2016
    Refused (160568)

8. Derek Justice Doggett
   v. Commonwealth of Virginia
   Record No. 0548-15-2
   Opinion rendered by Judge Beales
    on April 12, 2016
   Refused (160759)
